Abbott: Improving the Practice of Healthcare                               Page 1 of 1
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 Enter Search            Message from the Chairman
                                                     Welcome to Abbott.
  Home                                               Thanks for your interest in our company. I invite you to learn more about us – what we do and what we can do for
  About Abbott                                       you or someone you care about. And Abbott.com is the perfect place – the largest single source of information
    Our Promise                                      about our company, and one that's always available to you.
    Message from the                                 Our company is a multi-national enterprise and a broad-based medical innovator, with leadership in technologies
    Chairman                                         and businesses across the spectrum of health care. Whether it's maintaining health or detecting and treating
    Fast Facts                                       medical conditions, our diverse lines of businesses enable us to serve more people better than ever before.
    Areas of Expertise                               Our goal at Abbott is very straightforward: to help the people who depend upon us by continuing to advance
    History                                          medical science. We do this in many ways – through our products that directly help patients, through our
                                                     advocacy for causes we believe in, and through our global humanitarian efforts that help people in need around
    Abbott Worldwide
                                                     the world.
  Products
                                                     We are guided in this work by a commitment to building on opportunities that significantly improve health and the
  Global Citizenship
                                                     practice of health care. We deliver on this commitment by staying true to a core set of values:
  Careers
  News & Media
                                We set our sights on pioneering solutions that advance health care.
  Investor Relations
                                We strive to achieve results for those we serve by setting our own high standards.
  Global Licensing
                                We share a deep passion for our work and caring for the people we help.
                                We are here for the long term – building on our strong, enduring heritage and continuing to invest in the future to address health needs
                                where they are the greatest.


                         At Abbott, we don't take our success for granted. Our 72,000 employees around the world know that it is the result of hard work, a
                         commitment to excellence, and a desire to make a difference in all that we do. We are proud of our achievements, and we will continue to
                         work hard to deliver on our promise.
                         Thank you for taking the time to get to know our company and our work.
                         Best regards,
                         Miles D. White
                         Chairman of the Board and Chief Executive Officer



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